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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHARLES RICE KENDALL and
ANN P. HOCHBERG, as Trustees for
The Thomas E. Proctor Heirs Trust,

Plaintiffs, :
Vv. : NO. 21-CV-01491

EQT AMD LLC, EQT ARO LLC, ; CHIEF JUDGE BRANN
INTERNATIONAL DEVELOPMENT
CORP., and SWN PRODUCTION
COMPANY, LLC,
ELECTRONICALLY FILED
Defendants.

STATUS REPORT

Defendants EQT AMD LLC and EQT ARO LLC (together, “EQT
Defendants”) hereby file this Status Report pursuant to the Court’s July 6, 2023
Order as follows:

1. On July 6, 2023, the Court entered an Order granting EQT Defendant’s
Motion to Stay pending resolution of the appeal captioned Pennsylvania Game
Commission v. Thomas E. Proctor Heirs Trust, No. 22-1587 (3d Cir.), and requiring
that EQT Defendants file a status report “every ninety (90) days and promptly upon
resolution of the Third Circuit appeal.” (ECF 58.)

2. On May 1, 2023, the United States Court of Appeals for Third Circuit
granted the Pennsylvania Game Commission and Thomas E. Proctor Heirs Trust’s

request for, inter alia, certification of a question of state law to the Supreme Court

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of Pennsylvania, writing “[o]ur certification of a question of state law to the Supreme
Court of Pennsylvania, pursuant to Local Appellate Rule 110.1, will follow.” See
Pennsylvania Game Comm'n y. Thomas E. Proctor Heirs Trust, No. 22-1587, May
1, 2023 Order (ECF 62) (attached as Exhibit A).

3. The Third Circuit issued a Petition for Certification of a Question of
State Law on October 11, 2023, which was granted by the Supreme Court of
Pennsylvania on November 27, 2023. See Pennsylvania Game Comm'n v. T homas
E. Proctor Heirs Trust, No. 22-1587 (3d Cir.), October 11, 2023 Petition for
Certification of Question of State Law (ECF 63) (attached as Exhibit B) and
Pennsylvania Game Comm'n vy. Thomas E. Proctor Heirs Trust, No. 31 EAP 2023
(Pa.), Docket Sheet as of April 1, 2024 (attached as Exhibit C).

4. The Supreme Court of Pennsylvania accepted the following question

for resolution:

Whether, on the record provided here, a 1908 tax sale
of an unseated parcel of land, induced by the surface
owner’s failure to pay taxes on the estate, and made
to an agent of the defaulting surface owner,
constitutes a title wash, thereby divesting the
subsurface owner of his interest in the estate?

See Exhibit C at p. 5.

> Appellant Commonwealth of Pennsylvania, Pennsylvania Game

Commission filed its opening brief on January 22, 2024. See Exhibit C at p. 8.
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6. On that same date, EQT Defendants and International Development

Corporation filed Amicus Curiae Briefs in support of Appellant Commonwealth of

Pennsylvania, Pennsylvania Game Commission. See Exhibit C at p. 8.

7. Appellee Thomas E. Proctor Heirs Trust filed its Brief on March 27,

2024. See Exhibit C at p. 9.

8. Briefing is currently scheduled to close in this matter on April 10, 2024

with the filing of Commonwealth of Pennsylvania, Pennsylvania Game

Commission’s Reply Brief.

?, EQT Defendants submit that this Court’s stay Order issued on July 6,

2023 should remain in place at this time.

Respectfully submitted:

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Attorneys for Defendants, EQT AMD
LLC AND EQT ARO LLC

Date: April 1, 2024
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CERTIFICATE OF SERVICE

I, John B. Dempsey, hereby certify that a true and correct copy of the

foregoing Status Report was served upon counsel of record via the Court’s ECF

system on this Ist day of April 2024:

/s/ John B. Dempsey
John B. Dempsey

